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                             EXHIBIT C
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                                                       April 2, 2008

BY FACSIMILE: (718) 613-2567
and BY REGULAR MAIL
Hon. Nina Gershon
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                                         Re: United States v. Ron Washington
                                              05 Cr. 558 (NG)
Dear Judge Gershon:

      Counsel writes to confirm the new sentencing date in the above-reference
matter is Wednesday, April 23, 2008, at 2:30 pm. Additionally, on behalf of the
defendant, Ron W ashington, I write in response to the government’s submissions
dated October 31, 2007, January 9, 2008 February 13, 2008 and March 25, 2008,
and to supplement previous submissions on behalf of Mr. W ashington dated
October 19, 2007 and December 29, 2007.

CONSIDERATION OF UNCHARGED MURDERS

      In its letter of January 9, 2008, the government urged the Court to consider
the murders described in paragraphs 88 & 89 1 of the Pre-Sentence Investigation
Report (“PSR”) in connection with its §3553 (a) (1) analysis of the “history and
characteristics of the defendant” and the “need for the sentence imposed...to


      1
         Paragraph 88 alleges that on November 30, 1995, the defendant and two
others allegedly chased and shot Randy Walker as Walker tried to evade gunfire. The
government alleges further that the defendant “allegedly fired a gun out the back
window, striking and killing Walker.” In paragraph 89, it is alleged that on October 30,
2002, that the defendant entered a music studio in Queens and pointed a gun at the
occupants. The government further alleges that while Washington “providing cover,”
his associate shot “Jason Mizell,” aka “Jam Master J.”
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protect the public from further crimes of the defendant. While counsel recognizes
the Court’s power to make such a finding, it is respectfully submitted, that the
Court should be wary of holding a defendant liable for an uncharged murder – or
any uncharged crime for that matter – based upon a preponderance of the
evidence standard. In its first letter, the government alleges – without more – that
it “possesses proof, above and beyond a preponderance that the [sic] committed
murder.” However, what follows is nothing of substance and merely a suggestion
that the government “reserves the right” to argue for the “top of the applicable
statutory maximum.”

      On March 25, 2008, on the eve of sentencing, the government again asked
the Court to consider the allegations of murder enumerated in ¶¶ 88 & 89 of the
PSR. The government added little to its earlier factual recitation except to say
that during a high speed car chase Mr. W ashington shot and killed Randy
W alker. Clearly, in state court, where jurisdiction over such a homicide
appropriately rests, a bold accusation of this sort would be insufficient for a
murder conviction either “beyond a reasonable doubt” or by a preponderance of
the evidence. Was W ashington really the shooter? Did the decedent have a
weapon? Was he, too, shooting? W hat, if any, provocation was there? W as the
shooting, if it occurred, somehow “justified.” If the shooting occurred was it self
defense? Is any of the gossip that leads the government to make this allegation
admissible?

         The accusation as to ¶ 88 is more than a decade old and virtually
impossible for Mr. W ashington to properly address in the context of a Fatico
Hearing. Moreover, as the Court will recall, the Mr. W ashington’s weapon of
choice at each of the charged robberies was a BB-gun – generally not capable of
inflicting a fatal injury. As to the allegation contained in ¶ 89, it is counsel’s
understanding that this homicide has been the subject of years of federal and
state investigations. Notwithstanding, law enforcement has never had anything
more than gossip upon which to accuse – but never charge – Mr. W ashington.
The government’s attempt to short circuit courts with proper subject matter
jurisdiction and to impose a standard of proof well below that which is
constitutionally required in matters as serious as murder offends Mr.
W ashington’s due process rights. Accordingly, it is respectfully submitted that it
would be inappropriate for the Court to consider the matter asserted in ¶¶ 88 &
89. Accordingly, the defendant’s earlier request that these paragraphs be
stricken from the PSR is re-asserted.




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ENHANCEMENT FOR OBSTRUCTION OF JUSTICE IS NOT AUTHORIZED

       The government’s request for a two-level enhancement for obstruction of
justice pursuant to Guideline § 3C1.1 is not authorized under this or any
guideline. Guideline § 3C1.1 provides as follows:

            If (A) the defendant willfully obstructed or impeded...the
            administration of justice during the course of the investigation,
            prosecution or sentencing of the instant offense of
            conviction...and (B) the obstructive conduct related to (i) the
            defendant’s offense of conviction and any relevant conduct; or (ii)
            a closely related offense, increase the offense level by 2 levels.
            Emphasis added.


       The guideline upon which the government relies requires that the
“obstruction” have a connection and/or relationship with the investigation of the
defendant’s “offense of conviction” or other matter “closely related”. Here the
government asks the Court to impose a two-point enhancement based upon Mr.
W ashington’s submission of an affidavit which the government alleges is false:
(1) in a totally unrelated matter; (2) by an individual not otherwise known to Mr.
W ashington; and (3) in a matter which is not connected in any way to the
conduct charged in Mr. W ashington’s “offense of conviction;” nor is it “closely
related” to any of Mr. W ashington’s charges. Even the government will concede
that United States v. Rodney Reid has no connection whatsoever to Mr.
W ashington or any of his crimes of conviction. The guidelines do not support
such an enhancement. Accordingly, it is respectfully requested that the Court
reject this requested enhancement by the government.

CRIMINAL HISTORY CALCULATION

       In earlier submissions to the Court, Mr. W ashington asserted that the
criminal history calculation set forth in paragraphs 84-87 were incorrect. Mr.
W ashington persists in these assertions and reminds the Court specifically as to
¶ 85, that according to paragraphs ¶¶ 73 & 76, Mr. Washington was released
from prison on March 14, 2002, and there does not appear to be any indication
that he was placed on parole. Mr. W ashington informs that he served the
maximum sentence allowable under the law and accordingly, no term of parole
followed. Mr. Washington further reports that he was never notified that he was
on parole, nor that he was to report to a parole officer. Accordingly, he never
reported and there have been legal repercussions – a fact, it is submitted – which

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supports the notion that he was never placed on parole. Counsel notes that Mr.
W ashington’s position was made known to the Court and the Probation
Department in counsel’s letter of October 19, 2007. Additionally, in counsel’s
letter of December 29, 2007, counsel challenged Probation to produce
documentation supporting its claim regarding the imposition of a term of parole.
Their failure to do so, it is submitted, confirms the correctness of Mr.
W ashington’s position. Accordingly, Mr. W ashington’s criminal history calculation
should be re-done.

OTHER CONSIDERATIONS PURSUANT TO 18 USC 3553 (a)

       In its submission to the Court, the government asks the Court to impose a
more onerous sentence upon Mr. W ashington in order to protect the public from
further harm. It is respectfully submitted that the guidelines, when correctly
calculated, provide more than adequate protection for the public and that a
sentence within the corrected guidelines, as outlined by counsel in our letters of
October 19, 2007 and December 29, 2007, provides sufficient punishment for the
crimes of conviction.

                                                   Respectfully submitted,

                                                   Susan G. Kellman
                                                   Susan G. Kellman
cc:   AUSA Sean Haran

      USPO Holly Kaplan

      Ron W ashington




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